                              UNPUBLISHED

                   UNITED STATES COURT OF APPEALS
                       FOR THE FOURTH CIRCUIT


                              No. 06-5197



UNITED STATES OF AMERICA,

                Plaintiff - Appellee,

           v.


NANYA SHAABU EL, a/k/a Sean Wesley Henry,

                Defendant - Appellant.



Appeal from the United States District Court for the Middle
District of North Carolina, at Durham. William L. Osteen, Senior
District Judge. (1:06-cr-00171-WLO)


Argued:   March 21, 2008                      Decided:    April 25, 2008


Before NIEMEYER and MICHAEL, Circuit Judges, and C. Arlen BEAM,
Senior Circuit Judge of the United States Court of Appeals for the
Eighth Circuit, sitting by designation.


Affirmed by unpublished per curiam opinion.


ARGUED: Robert Lynn McClellan, IVEY, MCCLELLAN, GATTON & TALCOTT,
L.L.P., Greensboro, North Carolina, for Appellant.     Graham Tod
Green, OFFICE OF THE UNITED STATES ATTORNEY, Greensboro, North
Carolina, for Appellee.    ON BRIEF: Anna Mills Wagoner, United
States Attorney, Greensboro, North Carolina, Paul A. Weinman,
Assistant United States Attorney, OFFICE OF THE UNITED STATES
ATTORNEY, Winston-Salem, North Carolina, for Appellee.


Unpublished opinions are not binding precedent in this circuit.




      Case 1:06-cr-00171-WLO Document 139 Filed 04/25/08 Page 1 of 6
PER CURIAM:

         A jury convicted Nanya Shaabu El* on two charges under 18

U.S.C.         §   915    for   falsely    claiming    diplomatic       immunity   and

attempting to obtain something of value by doing so.                      He appeals

the district court's denial of his Rule 29 motion for judgment of

acquittal made at the close of the government's evidence and

renewed at the close of his defense case.



                                             I.

         On May 22, 2006, Nanya El and two others falsely represented

to authorities that they were diplomats.                Nanya El first made this

representation at the main office of the United States Department

of State in Washington, D.C.               Nanya El told the security guard on

duty that he was a diplomat, showed the guard what purported to be

a United Nations identification card, and informed that guard that

he wished to authenticate documents.                Later that same day, the car

in which Nanya El was riding as a passenger was pulled over on

Interstate 85, and officers found a small amount of marijuana and

a loaded handgun in the car.              Nanya El again represented himself to

be   a       diplomat     during   conversations      with   the    police   officers

conducting          the    traffic   stop,    and   referred       to   authenticated

documents in a folder he was carrying as support for this claim.


         *
     Nanya Shaabu El refers to himself as Mr. Nanya El in his
brief, and we will likewise refer to him as Nanya El throughout the
remainder of this opinion.

                                             2




             Case 1:06-cr-00171-WLO Document 139 Filed 04/25/08 Page 2 of 6
     Nanya El was not ultimately charged with any state criminal

offenses.    The driver of the car was charged in state court with

simple possession of marijuana.             Nanya El was indicted on two

charges under 18 U.S.C. § 915 for falsely claiming diplomatic

immunity and attempting to obtain something of value by doing so.

The jury convicted him on both counts, and Nanya El was sentenced

to concurrent terms of six months on both counts, with credit for

time already served.     On appeal, Nanya El argues that he had no

intent to defraud authorities, either because he had a "good faith"

belief that his representations were true or that the story given

to the police was so far-fetched that the police could not have

reasonably   believed   he     was   from    a   nation    having   diplomatic

relations with the United States.            Nanya El further argues that

since he purported to be from a "nation" which did not have

diplomatic relations with the United States, he cannot be guilty

under the statute.    Nanya El's final argument is that since he was

not charged with any offense in state court, there was no evidence

that he sought anything of value by asserting diplomatic immunity.



                                      II.

     We review the trial court's denial of a motion for a judgment

of acquittal de novo.         United States v. Gray, 405 F.3d 227, 237

(4th Cir. 2005).      The jury's verdict must be upheld if, after

reviewing    the   evidence    in    the    light   most   favorable   to   the


                                       3




      Case 1:06-cr-00171-WLO Document 139 Filed 04/25/08 Page 3 of 6
government, a rational trier of fact could have found the elements

of the offense beyond a reasonable doubt.             United States v.

Osborne, 514 F.3d 377, 385 (4th Cir. 2008).

     18 U.S.C. § 915 provides:

     Whoever, with intent to defraud within the United States,
     falsely assumes or pretends to be a diplomatic, consular
     or other official of a foreign government duly accredited
     as such to the United States and acts as such, or in such
     pretended character, demands or obtains or attempts to
     obtain any money, paper, document, or other thing of
     value, shall be fined under this title or imprisoned not
     more than ten years, or both.

In order to prove its case under this statute, the government must

demonstrate that a defendant intended to falsely represent himself

as a diplomat, and that he intended to gain a thing of value by

doing so.    Cortez v. United States, 328 F.2d 51, 52 (5th Cir.

1964).   Attempting to secure immunity from possible prosecution is

a "thing of value" within the meaning of this statute.         See United

States v. Callaway, 446 F.2d 753, 754-55 (3d Cir. 1971).

     The district court did not err in denying Nanya El's Rule 29

motion for acquittal.    Nanya El's somewhat contradictory arguments

notwithstanding, in reviewing the evidence in the light most

favorable to the verdict, we find that the government adequately

proved the intent-to-defraud element.        In addition to his verbal

assertions, Nanya El had scores of official-looking documents and

identification cards purportedly backing his diplomatic status.

Under these circumstances, the police were at least obliged to



                                    4




      Case 1:06-cr-00171-WLO Document 139 Filed 04/25/08 Page 4 of 6
check into the legitimacy of the paperwork, and apparently spent

considerable time doing so.

       Nanya El also argues that because the nation he pretended to

represent ("Atlan") did not really exist, and definitely was not a

nation "duly accredited as such to the United States," he cannot be

guilty of violating the statute.             In Callaway, the defendant took

a similar approach, arguing that the government did not prove he

was trying to impersonate a foreign diplomat "duly accredited as

such to the United States," because he merely pretended to be a

Canadian diplomat, but not one who was attached to a particular

American mission. The Third Circuit rejected this argument, noting

that    most    importantly,     the    defendant     had   "intended    to   use

diplomatic privilege as a shield against the law," which was "the

primary evil that the statute sought to correct."              Id. at 754.     We

agree with the Third Circuit's approach and find               that Nanya El's

conduct on May 22, 2006, was the primary evil that Section 915

sought     to   correct,   regardless    of    the   likely   validity   of   his

diplomatic claims.

       Finally, we reject Nanya El's argument that because he was not

ultimately prosecuted in state court for any offense, he did not

seek   a   thing    of   value   by    asserting     diplomatic   status.      As

previously noted, immunity from prosecution is a thing of value.

Cf. United States v. Rippee, 961 F.2d 677, 679 (7th Cir. 1992)

(holding that forbearance from prosecution was a thing of value as


                                         5




       Case 1:06-cr-00171-WLO Document 139 Filed 04/25/08 Page 5 of 6
proscribed in 18 U.S.C. § 912 which criminalizes impersonating a

federal officer).

                                                                AFFIRMED




                                   6




     Case 1:06-cr-00171-WLO Document 139 Filed 04/25/08 Page 6 of 6
